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 8                                    UNITED STATES DISTRICT COURT
 9                                         DISTRICT OF NEVADA
10

11   LAURA CONKLIN, an individual;

12      Plaintiff,                                    Case No. 3:18-cv-00260-MMD-CBC

13    vs.                                             STIPULATION AND ORDER OF
                                                      DISMISSAL
14   CITY OF RENO, a municipality; CITY OF
     RENO ex. Rel. its DEPARTMENT of
15   POLICE, a municipality; DAVE EVANS, in
16   his individual and official capacities; SCOTT
     SHAW, in his individual and official
17   capacities; and DOES 1 through 10 inclusive.

18                       Defendant.

19
20           Plaintiff, LAURA CONKLIN and Defendants, CITY OF RENO, a municipality, DAVE

21    EVANS, an individual, and SCOTT SHAW, an individual (Collectively “Defendants”), by and

22    through their attorneys of record, hereby stipulate and respectfully request an order dismissing the

23    entire action with prejudice.

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       Case 3:18-cv-00260-MMD-CBC Document 48 Filed 03/25/19 Page 2 of 2



 1          Each party shall bear its own costs and attorney’s fees.

 2   Dated: March 21, 2019.                     Dated: March 21, 2019.
 3
     Respectfully submitted,                        Respectfully submitted,
 4

 5   /s/ Jason D. Guinasso, Esq.                    /s/ Mark W. Dunagan, Esq.
     HUTCHISON & STEFFEN, PLLC                      KARL S. HALL, RENO CITY ATTORNEY
 6
     Jason D. Guinasso, Esq.                        Mark W. Dunagan, Esq., Deputy City Attorney
 7   Attorney for Plaintiff                         Attorneys for Defendant City of Reno, Scott Shaw
     Laura Conklin                                  and David Evans
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 9                                                IT IS SO ORDERED.
10                                                Dated this 25th          March
                                                             _____ day of ________________, 2019.
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                                                  __________________________________________
13                                                UNITED STATES DISTRICT JUDGE

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